     Case 2:05-cr-00100-RLH-LRL            Document 180        Filed 03/13/07      Page 1 of 4




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 7

 8                                 UNITED STATES DISTRICT COURT

 9                                         DISTRICT OF NEVADA

10    UNITED STATES OF AMERICA,                          )
                                                         )
11                           Plaintiff,                  )
                                                         )
12            v.                                         )    2:05-cr-0100-RLH-LRL
                                                         )    2:06-cr-0002-RLH-GWF
13    NELSON OSEMWENGIE, et al.,                         )
                                                         )
14                           Defendants.                 )

15                        UNOPPOSED MOTION FOR EXTENSION OF TIME

16                                              (Second Request)

17            Pursuant to Fed. R. Civ. P. 6(b), LR IA 3-1, and LR 6-11, the United States of America

18    (“United States”) respectfully submits this unopposed motion seeking an extension of time until and

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      1
              Although this is a criminal case, the Federal Rules of Civil Procedure apply to the ancillary
21    forfeiture proceeding because ancillary forfeiture proceedings are considered civil in nature. See
      United States v. Alcaraz-Garcia, 79 F.3d 769, 772 n. 4 (9th Cir. 1996) (holding that “the third party
22
      proceeding is civil in nature” and, therefore, Fed. R. App. P. 4 determines the timeliness of an appeal
23    from the denial of a third-party petition under 21 U.S.C. § 853(n)); United States v. Douglas, 55 F.3d
      584, 588 (11th Cir. 1995) (holding that a third-party claim in a proceeding ancillary to criminal
24    forfeiture is to be considered a civil action for purposes of permitting an award of attorney’s fees
      under the Equal Access to Justice Act); United States v. BCCI Holdings (Luxembourg) S.A., 69 F.
25    Supp. 2d 36, 54-55 (D.D.C. 1999) (because the ancillary proceeding is essentially civil in nature, “the
26    Court adopted and adapted the Federal Rules of Civil Procedure” to impose sanctions under Fed. R.
      Civ. P. 11, to allow dispositive motions under Fed. R. Civ. P. 12 and 56, to permit civil discovery, and
      to allow appeals by third parties from denial of claims under Fed. R. Civ. P. 54(b)).
     Case 2:05-cr-00100-RLH-LRL          Document 180         Filed 03/13/07     Page 2 of 4




 1    including March 30, 2007, for the United States to respond to the Petitions of Lantis Osemwengie

 2    (Docket #167 in 2:05-cr-0100-RLH-LRL and Docket #267 in 2:06-cr-0002-RLH-GWF) and the

 3    Petitions of Philomena Osemwengie (#168 in 2:05-cr-0100-RLH-LRL and #268 in

 4    2:06-cr-0002-RLH-GWF) filed on February 9, 2007, in 2:06-cr-0002-RLH-GWF and on February 12,

 5    2007, in 2:05-cr-0100-RLH-LRL. The United States’s responses are currently due on March 12,

 6    2007, respectively.

 7            The reasons for the second requested extension are that the United States Secret Service

 8    Special Agent has been unavailable the past few weeks to assist concerning the facts and circumstanes

 9    in this case, and counsel for the United States was (1) involved in several last-minute high profile

10    criminal matters from March 1, 2007, through March 7, 2007, (2) had a Ninth Circuit Mediation

11    hearing, and (3) two last minute civil cases that required and consumed much of the time intended for

12    the preparation of Responses to the Petitions.

13            On March 9, 2007, Mr. Ulrich W. Smith, counsel for Nelson and Lantis Osemwengie,

14    indicated that he has no opposition to the requested extension of time. This unopposed motion is not

15    submitted solely for the purpose of delay or for any other improper purpose.

16            DATED this 12th day of March, 2007.

17                                                         STEVEN W. MYHRE
                                                           Acting United States Attorney
18
                                                           /s/ Daniel D. Hollingsworth
19                                                         DANIEL D. HOLLINGSWORTH
                                                           Assistant United States Attorney
20

21                                               IT IS SO ORDERED.
22

23                                               __________________________________
                                                         IT IS SO ORDERED.
                                                 CHIEF UNITED STATES DISTRICT JUDGE
24
                                                 DATED: UNITED
                                                         March 13, 2007 DISTRICT JUDGE
                                                                STATES
25

26                                                         DATED: _________________________

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     Case 2:05-cr-00100-RLH-LRL         Document 180       Filed 03/13/07   Page 3 of 4




 1                                        PROOF OF SERVICE

 2            I, Daniel D. Hollingsworth, certify that the following individuals were served the

 3    UNOPPOSED MOTION FOR EXTENSION OF TIME (Second Request) on March 12, 2007 by

 4    the below-identified method of service:

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26

                                                     3
     Case 2:05-cr-00100-RLH-LRL      Document 180        Filed 03/13/07    Page 4 of 4




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            Richard A. Wright
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            Attorney for Defendant Nelson Owemwengie
15
            DATED this 12th day of March, 2007.
16
                                                       /s/ Daniel D. Hollingsworth
17                                                     DANIEL D. HOLLINGSWORTH
                                                       Assistant United States Attorney
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